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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

HOWARD COHAN

        Plaintiff,

v.
                                                         Case No.
GREATER ATLANTA HOTEL, LLC, a
Georgia limited liability company,

        Defendant.



     PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Howard Cohan, through his undersigned counsel, states the following in support

of his Complaint for Declaratory and Injunctive Relief to remedy discrimination by Defendant

Greater Atlanta Hotel, LLC. based on Plaintiff’s disability in violation of Title III of the

Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (“ADA”), and its

implementing regulation, 28 C.F.R. Part 36:

                                  JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-3(a), 28

U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.       Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts of

discrimination occurred in this district, and the property that is the subject of this action is in this

district.

                                              PARTIES




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        3.       Plaintiff is a resident of Palm Beach County, Florida.

        4.       Defendant Greater Atlanta Hotel LLC. is a limited liability company with its

registered office located at 116 Tommy Stalnaker Drive, Warner Robins, GA 31088.

        5.       Upon information and belief, Defendant Greater Atlanta Hotel, LLC. owns or

operates “Aloft Alpharetta” whose location qualifies as a “Facility” as defined in 28 C.F.R. §

36.104.

                                    FACTUAL ALLEGATIONS

        6.       Plaintiff incorporates the above paragraphs by reference.

        7.       Plaintiff is an individual with numerous disabilities, including severe spinal

stenosis of the lumbar spine with spondylolisthesis and right leg pain, severe spinal stenosis of

the cervical spine with nerve root compromise on the right side, a non-union fracture of the left

acromion, a labral tear of the left shoulder, a full thickness right rotator cuff tear, a right knee

medial meniscal tear, a repaired ACL and bilateral meniscal tear of the left knee and severe basal

joint arthritis of the left thumb. These conditions cause sudden onsets of severe pain and

substantially limit Plaintiff’s ability to perform certain manual tasks, walk, stand, lift, bend, and

work. The disabilities and symptoms are permanent.

        8.       Plaintiff suffered from these disabilities during his initial visit (and prior to

instituting this action) to Aloft Alpharetta.

        9.       Plaintiff’s disabilities are considered a qualified disability under 28 C.F.R. 36.105.

        10.      Plaintiff’s condition is degenerative and occasionally requires mobility aids to

assist his movement.




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        11.     Plaintiff regularly travels to the Alpharetta, Georgia area to visit friends and shop.

Most recently, Plaintiff was in the Alpharetta, Georgia area in June 2021, and plans to return to

the area in February 2022.

        12.     Plaintiff stays at hotels when he is in the area.

        13.     Plaintiff does not always stay at the same hotel, but prefers to shop around for the

best prices, amenities, location, and ease of access to accommodate his disabilities.

        14.     Plaintiff regularly experiences barriers to access relating to his disability at hotels

due to his frequent travels.

        15.     While many hotels advertise that they have accessible rooms or public areas,

Plaintiff still regularly encounters barriers to access.

        16.     This requires Plaintiff to visit hotels that offer the amenities, pricing, and location

he desires prior to booking a stay to ensure that he can access the Facility in a manner equal to

non-disabled individuals.

        17.     Despite advertising that the Aloft Alpharetta is accessible, Plaintiff encountered

barriers to access at the Alpharetta Facility, which denied him full and equal access and

enjoyment of the services, goods, and amenities when he visited on May 15, 2018 and June 9,

2021.

        18.     Plaintiff is currently deterred from considering the Facility as an option for

lodging on his future planned visits due to the barriers and discriminatory effects of Defendant’s

policies and procedures at the Facility.




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        19.       Plaintiff is deterred from returning due to the barriers and discriminatory effects

of Defendant’s policies and procedures at the Facility.

        20.       Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the status

of remediation.

                              COUNT I
         REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

        21.       Plaintiff incorporates the above paragraphs by reference.

        22.       This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the provisions

of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural barriers at the Facility;

and (4) Plaintiff’s right to be free from discrimination due to his disability. 28 U.S.C. § 2201.

        23.       Plaintiff seeks an order declaring that he was discriminated against on the basis of

his disability.

                                COUNT II
          REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

        24.       Plaintiff incorporates the above paragraphs by reference.

        25.       The Alpharetta Facility is a place of public accommodation covered by Title III of

the ADA because it is operated by a private entity, its operations affect commerce, and it is a

hotel. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.




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        26.      Defendant is a public accommodation covered by Title III of the ADA because it

owns, leases (or leases to), or operates a place of public accommodation. See 42 U.S.C. §§

12181(7), 12182(a); 28 C.F.R. § 36.104.

        27.      Architectural barriers exist which deny Plaintiff full and equal access to the goods

and services Defendant offers to non-disabled individuals.

        28.      Plaintiff personally encountered architectural barriers on May 15, 2018 and June

9, 2021, at the Alpharetta Facility located at 7895 North Point Pkwy, Alpharetta, GA 30022 that

affected his disabilities:

              a. Men’s Restroom:

                     i. Providing a gate or door with a continuous opening pressure of greater

                        than 5 lbs. exceeding the limits for a person with a disability in violation

                        of sections 404, 404.1, 404.2, 404.2.9 and 309.4 of the Standards, which

                        aggravates the rotator cuff injury in his shoulder and causes undue strain

                        on his back because the door pressure is too heavy.

                    ii. Failing to provide the proper insulation or protection for plumbing or other

                        sharp or abrasive objects under a sink or countertop in violation of

                        sections 606 and 606.5 of the Standards, which prevents proper balance

                        and causes Plaintiff difficulty when trying to reach under the sink.

                   iii. Providing grab bars of improper horizontal length or spacing as required

                        along the rear wall in violation of sections 604, 604.5, 604.5.1 and 604.5.2

                        of the Standards, which prevents Plaintiff from using the grab bars for the




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           assistance he needs getting onto and off of the toilet due to his back and

           knee injuries.

      iv. Failing to provide rear grab bars at 33 inches minimum and 36 inches

           maximum above the finished floor measured to the top of the gripping

           surface in violation of sections 609, 609.4 and 609.7 of the Standards,

           which prevents Plaintiff from using the grab bars for the assistance he

           needs getting onto and off of the toilet due to his back and knee injuries.

       v. Failing to provide side grab bars at 33 inches minimum and 36 inches

           maximum above the finished floor measured to the top of the gripping

           surface in violation of sections 609, 609.4 and 609.7 of the Standards,

           which prevents Plaintiff from using the grab bars for the assistance he

           needs getting onto and off of the toilet due to his back and knee injuries

      vi. Failing to provide toilet paper dispensers in the proper position in front of

           the water closet or at the correct height above the finished floor in

           violation of sections 604, 604.7 and 309.4 of the Standards, which causes

           unnecessary strain on his shoulder, back and legs in order to reach the

           dispenser.

      vii. Failing to provide the water closet in the required proper position relative

           to the side wall or partition in violation of sections 604 and 604.2 of the

           Standards, which prevents Plaintiff from using the grab bar to get on and




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           off of the toilet because the toilet is not in the proper position from the

           wall.

 b. Outdoor Lounge near Pool

        i. Failing to provide seating for a person(s) with a disability that has the

           correct clear floor space for forward approach in violation of sections 902,

           902.2, 305 and 306 of the Standards, which aggravates Plaintiff’s leg and

           back injuries by preventing him from extending his legs without

           obstruction while being able to utilize the table surface.

       ii. Failing to provide a sufficient amount of seating when dining surfaces are

           provided for the consumption of food or drink for a person(s) with a

           disability in violation of sections 226, 226.1, 902, 305 and 306 of the

           Standards, which requires Plaintiff to utilize seating that is unsafe and

           painful for him to use due to his leg and back injuries.

 c. Indoor Lounge

        i. Failing to provide seating for a person(s) with a disability that has the

           correct clear floor space for forward approach in violation of sections 902,

           902.2, 305 and 306 of the Standards, which aggravates Plaintiff’s leg and

           back injuries by preventing him from extending his legs without

           obstruction while being able to utilize the table surface.

       ii. Failing to provide a sufficient amount of seating when dining surfaces are

           provided for the consumption of food or drink for a person(s) with a




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                        disability in violation of sections 226, 226.1, 902, 305 and 306 of the

                        Standards, which requires Plaintiff to utilize seating that is unsafe and

                        painful for him to use due to his leg and back injuries.

              d. Passenger Loading Zone

                     i. Failing to provide a passenger loading zone with an access aisle marked

                        with striping in violation of sections 209, 209.1, 209.4, 503, 503.1, 503.3

                        and 503.3.3 of the Standards, which causes unnecessary strain on

                        Plaintiff’s back, neck, and shoulder by requiring him to park at a distance

                        and walk that distance with the extra weight of his luggage.

        29.      These barriers cause Plaintiff difficulty in safely using each element of the

Facility because of Plaintiff’s impaired mobility and limited range of motion in his arms,

shoulders, legs, and hands requiring extra care due to concerns for safety and a fear of

aggravating his injuries.

        30.      Defendant has failed to remove some or all of the barriers and violations at the

Facility.

        31.      Defendant’s failure to remove these architectural barriers denies Plaintiff full and

equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

        32.      Defendant’s failure to modify its policies, practices, or procedures to train its staff

to identify architectural barriers and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most integrated setting

possible is discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.




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        33.      It would be readily achievable for Defendant to remove all of the barriers at the

Facility.

        34.      Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv),

and 28 C.F.R. § 36.304.

                                      RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

        A.       declare that the Facility identified in this Complaint is in violation of the ADA;

        B.       declare that the Facility identified in this Complaint is in violation of the 2010

ADA Standards for Accessible Design;

        C.       enter an Order requiring Defendant make the Facility accessible to and usable by

individuals with disabities to the full extent required by Title III of the ADA and the 2010 ADA

Standards for Accessible Design;

        D.       enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;

        E.       award Plaintiff attorney fees, costs (including, but not limited to court costs and

expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205; and

        F.       grant any other such relief as the Court deems just and proper.


                                                       Respectfully Submitted,

                                                       /s/ Barry Debrow Jr.
                                                       Georgia Bar No.445097
                                                       Debrow Law P.C.



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Dated: February 17, 2022




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